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                                #:50200


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                        UNITED STATES DISTRICT COURT
16
                      CENTRAL DISTRICT OF CALIFORNIA
17
                                WESTERN DIVISION
18
19
     JENNY LISETTE FLORES, et         ) Case No. 2:85-cv-04544-DMG
20   al.,                             )
21                                    ) NOTICE OF APPEAL
          Plaintiffs,                 )
22   v.                               )
                                      ) Hon. Dolly M. Gee
23                                    )
24   MERRICK GARLAND, Attorney )
                                      )
25   General of the United States, et )
     al.,                             )
26
          Defendants.                 )
27
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Case 2:85-cv-04544-DMG-AGR Document 1430 Filed 06/03/24 Page 2 of 3 Page ID
                                #:50201


 1        Defendants the U.S. Department of Homeland Security, including its
 2 subcomponent U.S. Customs and Border Protection, hereby appeal the Court’s April
 3 3, 2024 Order, ECF No. 1406, granting in part Plaintiffs’ Motion to Enforce in the
 4 above-captioned case to the United States Court of Appeals for the Ninth Circuit.
 5
 6 Dated: June 3, 2024                           Respectfully submitted,
 7
 8                                               BRIAN M. BOYNTON
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                                                 /s/ Fizza Batool
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Case 2:85-cv-04544-DMG-AGR Document 1430 Filed 06/03/24 Page 3 of 3 Page ID
                                #:50202


 1                           CERTIFICATE OF SERVICE
 2       I hereby certify that on June 3, 2024, I served the foregoing pleading on all
 3 counsel of record by means of the District Court’s CM/ECF electronic filing system.
 4
 5 DATED: June 3, 2024
 6
 7                                                   /s/ Fizza Batool
                                                     FIZZA BATOOL
 8                                                   Trial Attorney
 9
                                                     Attorney for Defendants
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